
17 N.Y.2d 448 (1965)
In the Matter of The Estate of Emma D. Johnson, Deceased. Alexandra D. K. Brennen et al., Appellants; Victor Jacobs, as Special Guardian for Possible Unborn Issue of John H. Brennen, III, et al., Respondents.
Court of Appeals of the State of New York.
Argued November 24, 1965.
Decided December 30, 1965.
James Allan Bernson for petitioner-appellant.
Joseph G. Blum, in person, Louis Haimoff and Edward Greenbaum for Joseph G. Blum, special guardian for Michael Brennen, an infant, appellant.
Shirley Cherin, Victor Jacobs, pro se, and Robert E. Steinberg for Victor Jacobs, special guardian for possible unborn issue of John H. Brennen, III, respondent.
Gustave W. Kvalden for Swedish Home for the Aged, Inc., respondent.
Pierre J. Sherry and Edward V. Dodd for Swedish Hospital in Brooklyn, respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Order reversed, with costs to all parties appearing separately and filing separate briefs payable out of the trust estate, and the matter remitted to the Surrogates' Court, New York County, with direction that the will be construed to include the adopted child, Michael Brennen, as a qualified remainderman of the trust. (Matter of Park, 15 N Y 2d 413.)
